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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA


DAVID MATYJASEK
350 McGoveron Avenue
Washington, PA 15301                                          JURY TRIAL DEMANDED
        Plaintiff,
v.                                                            CASE NO. 2:21-cv-617
KELLINGTON PROTECTION SERVICES
4405 Steubenville Pike
Pittsburgh, PA 15205
        Defendant


                                 CIVIL ACTION COMPLAINT
        AND NOW Plaintiff, David Matyjasek, by and through his undersigned counsel, files

this Complaint alleging that his rights, pursuant to the Family First Corona Response Act

(“FFCRA”), Pub. L. No. 116-127, 134 State. 178 (Mar. 18, 2020) have been violated and avers

as follows:

                                           I.     PARTIES

     1. Plaintiff, David Matyjasek, hereinafter (“Plaintiff” or “Matyjasek”), is an adult individual

        residing at 350 McGoveron Avenue, Washington, PA 15301.

     2. Defendant, Kellington Protection Services (“Defendant” or “Kellington”) owns and

        operations a location at 4405 Steubenville Pike, Pittsburgh, PA 15205, where Plaintiff

        was employed.

     3. At all times material hereto, Defendant was Plaintiff’s employer and acted by and

        through its agents, servants, and employees, each of whom acted at all times relevant

        herein in the course and scope of their employment with and for Defendant.


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                                   II.     JURISDICTION

4. The Complaint alleges that his rights pursuant to the Family First Corona Response Act

   (“FFCRA”), Pub. L. No. 116-127, 134 State. 178 (Mar. 18, 2020) have been violated.

5. This Honorable Court has jurisdiction of this matter, case and controversy pursuant to 28

   U.S.C. §§1331, 1343(a)(4) and 42 U.S.C. § 2000e-5(f).

6. Venue is proper in the Western District of Pennsylvania pursuant to 28 U.S.C. § 1391(b)

   because a substantial part of the events or omissions giving rise to these claims in this

   Judicial District.

                                         III.       FACTS

7. On or about January 23, 2013, Plaintiff was hired as Director of Operations for

   Defendant.

8. In March 2020, Plaintiff began experiencing COVID-19 symptoms including a fever of

   one hundred one (101) degrees.

9. Plaintiff went to his physician’s office.

10. Plaintiff’s physician advised him to quarantine for fourteen (14) days due to COVID-19

   concerns.

11. Plaintiff informed the owner, Aaron Kellington, of his physician’s orders to quarantine.

12. A couple days later Plaintiff was contacted by Kellington Vice President, Michelle

   Cezrneick.

13. Ms. Cezrneick told Plaintiff, “don’t be a pussy, come to work.”

14. Mr. Kellington informed Plaintiff, “I don’t care how sick you are, you need to come back

   to work or lose your job.”




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15. Plaintiff informed them that his doctor ordered him to quarantine for fourteen days and

   inquired if he could use his vacation time or PTO.

       a. At the time Plaintiff had three (3) sick days, three (3) PTO days, and fourteen (14)

           vacation days.

16. Mr. Kellington told him he could not use vacation time, sick time or PTO.

17. Mr. Kellington further informed Plaintiff, “if you decide to come back; well that’s if we

   have anything for you, you will have to start all over again and receive a 75% pay cut.”

18. Defendant illegally terminated Plaintiff on or about March 26, 2020.

                                IV.     CAUSES OF ACTION

                                  COUNT I
                    FAMILIES FIRST CORONA RESPONSE ACT
19. Plaintiff incorporates the preceding paragraphs as if fully set forth at length herein.

20. At all times relevant hereto, Defendant was engaged in commerce, was in an industry or

   activity affecting commerce, and each employed at least 50 employees and less than 500

   employees for each working day during each of 20 or more calendar workweeks in the

   current or preceding calendar year.

21. Plaintiff had, at all times relevant hereto, been employed by Defendant for at least thirty

   (30) days making him eligible for leave under the Emergency Paid Sick Leave Act

   (“EPSLA”) component of the FFCRA.

22. The EPSLA requires covered employers to provide sick leave to employees with one of

   ix qualifying COVID-19 related conditions. See FFCRA §§ 5102, 5110(2).

23. Plaintiff was entitled to 80 hours of paid sick leave because he had been advised by a

   health are professional to self—quarantine due to concerns related to COVID-19 and




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       because he experienced symptoms of COVID-19 and sought a medical diagnosis. Id. §

       5102(a).

   24. Plaintiff notified Defendant that he was quarantining due to an EPSLA qualifying reason.

   25. Defendant failed to provide Plaintiff with 80 hours of paid sick leave.

   26. Defendant’s motivation in terminating Plaintiff was causally related to his assertion of

       EPSLA qualifying leave.

   27. As a result of Defendant’s violation of the anti-retaliation provisions of the EPSLA and

       its associated regulations, Plaintiff has suffered damages in the nature of pain and

       suffering and emotional distress, and is entitled to recovery of actual, compensatory and

       punitive damages, as well as pre and post-judgement interest, attorneys’ fees, costs, and

       such other compensation and legal remedies, and also including declaratory and

       injunctive or other equitable relief, as the law allows.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff, David Matyjasek, demands judgement in his favor and against

Defendant, Kellington Protection Services, in an amount in excess of $150,000.00 together with:

              A. Compensatory damages for: including, but not limited to: emotional distress,

              pain and suffering, personal injury damages, economic loss, lost wages and

              benefits, lost future earnings and lost future earning capacity;

              B. Punitive damages;

              D. Attorney’s fees and costs of suit;

              E. Interest, delay damages; and,

              F. Any other further relief this Court deems just proper and equitable.




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Date: May 11, 2021                 LAW OFFICES OF ERIC A. SHAORE, P.C.

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